        Case 1:23-cv-10684-IT Document 204-1 Filed 11/30/23 Page 1 of 8




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

SERVICIOS FUNERARIOS GG, S.A. DE
C.V.,

                     Plaintiff,

v.

ADVENT INTERNATIONAL
CORPORATION,

                     Defendant,

                     and                           Civil Action No. 23-cv-10684-IT

ADVENT INTERNATIONAL                               Referral: Hon. Jennifer C. Boal
CORPORATION,

                     Counterclaim-Plaintiff,

v.

SERVICIOS FUNERARIOS GG, S.A. DE
C.V.,

                     Counterclaim-
                     Defendant.



               AIC’S SURREPLY IN FURTHER OPPOSITION
            TO SERVICIOS FUNERARIOS’ MOTION TO COMPEL
     PRODUCTION OF DOCUMENTS AND RESPONSE TO INTERROGATORIES

       Defendant and Counterclaim-Plaintiff Advent International Corporation n/k/a Advent

International, L.P. (“AIC”) submits this Surreply In Further Opposition to Plaintiff Servicios

Funerarios GG, S.A. de C.V.’s (“SF”) Motion to Compel Advent International Corporation to (1)

Produce Documents and (2) Respond To Interrogatories (Dkt. 172), supporting memorandum of

law (Dkt. 174 (“Mot.”)), and reply memorandum of law (Dkt. 196 (“Reply”)).




                                               1
           Case 1:23-cv-10684-IT Document 204-1 Filed 11/30/23 Page 2 of 8




                                             ARGUMENT

       Throughout this litigation, SF has falsely claimed that AIC has no basis for its allegations

that SF hired Mexican criminal counsel to obtain arrest warrants and asset embargoes as leverage

in its civil claims against AIC. See, e.g., Mot., 13. Based on these accusations, SF has gone so

far as to threaten AIC with defamation claims in Mexico and Rule 11 sanctions in this Court.

See Dkt. 118 at 8; Dkt. 189-3 at 21:3–13. Indeed, a cornerstone of SF’s pending motion to

compel is its demand that AIC provide a further response to its Interrogatory No. 11 (asking AIC

to identify each instance in which SF acted improperly), or state that it “cannot” identify any

example of SF’s counsel’s misconduct. Mot., 19. As AIC’s opposition explained, AIC has

already provided a more than sufficient response to Interrogatory 11 for this stage in the case, as

well as ample basis for its counterclaims. See, e.g., Dkt. 188 (“Opp.”) at 3. The information

necessary to illuminate each instance of SF’s misconduct, however, is in SF’s sole

possession, id. at 6, 14, and SF has consistently resisted providing such materials in

discovery, id. at 7–9.

       On November 14, 2023, mere hours after AIC filed its opposition, SF finally produced its

engagement letter with its Mexican criminal counsel (the “Engagement Letter”). This production

was 40 days after the substantial completion deadline and six months after AIC first sought the

Engagement Letter at the beginning of discovery.1




       AIC’s Request For Production No. 29, served on May 3, 2023, requested “[a]ll documents
       1

and communications concerning the retention of Mexican counsel in connection with . . . the
Mexico Criminal Action, including without limitation any engagement letters.”


                                                2
            Case 1:23-cv-10684-IT Document 204-1 Filed 11/30/23 Page 3 of 8




                                                                                Ex. A-1 at 1. Such

                 are categorically prohibited in criminal engagements in the United States, and for

good reason.2



        The Engagement Letter contains other troubling terms that further demonstrate SF’s

Mexican criminal counsel was retained for an improper purpose:

    •




    •




    •




        In sum, the Engagement Letter




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           Case 1:23-cv-10684-IT Document 204-1 Filed 11/30/23 Page 4 of 8




          The late-produced Engagement Letter was undoubtedly material to SF’s motion to compel

a further response to Interrogatory No. 11, which asks AIC to “[i]dentify each instance where

Servicios Funerarios used illegal, improper, or illegitimate means or conduct with respect to the

Mexican criminal justice system,” “including . . . any agreement with respect to the conduct

(including, for example, any payment, arrangement, or quid pro quo).” Dkt. 173-16 at 7 (emphasis

added).




          In other words, at the same time SF insisted that AIC “obviously” could not further

substantiate its counterclaims and demanded that AIC “state so . . . without equivocation,” Mot. 2,

SF was actively withholding critical evidence of the very scheme AIC has alleged,

                                                     This discovery conduct soundly belies SF’s

argument (at Reply 4) that “waiting for further discovery would not make the answer [to

Interrogatory No. 11] substantially more complete.”        To force AIC to further respond to

Interrogatory No. 11 before all such evidence is produced—and before AIC has had the




                                                4
           Case 1:23-cv-10684-IT Document 204-1 Filed 11/30/23 Page 5 of 8




opportunity to depose SF’s witnesses—would only facilitate SF’s efforts to mischaracterize the

record and cast false aspersions on the merits of AIC’s case.3

                                        CONCLUSION

       For the reasons stated herein and in AIC’s opposition, AIC respectfully requests that the

Court deny SF’s motion to compel.




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         At the appropriate time, AIC will supplement its response to Interrogatory No. 11 to
account for information that SF is just now providing in discovery. And as practical matter, SF
has limited AIC’s ability to reference the Engagement Letter in any supplemental interrogatory
response by designating the document “Highly Confidential,” which prevents AIC’s counsel from
sharing the Engagement Letter with its client. See Dkt. 185 at 7–8. AIC intends to request that
SF remove the “Highly Confidential” designation and will seek relief from the Court if necessary.


                                                5
         Case 1:23-cv-10684-IT Document 204-1 Filed 11/30/23 Page 6 of 8




Dated: November 30, 2023            Respectfully submitted,


                                    /s/ Andrew J. Rossman
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                                        6
         Case 1:23-cv-10684-IT Document 204-1 Filed 11/30/23 Page 7 of 8




                           LOCAL RULE 7.1 CERTIFICATION
      I certify pursuant to Local Rule 7.1, that counsel to Defendant and Counterclaim-Plaintiff
Advent International Corporation conferred with counsel for Plaintiff and Counterclaim-
Defendant Servicios Funerarios GG, S.A. de C.V. concerning the issues presented in this Motion
on November 29, 2023.

                                            /s/ Andrew J. Rossman




                                               7
        Case 1:23-cv-10684-IT Document 204-1 Filed 11/30/23 Page 8 of 8




                              CERTIFICATE OF SERVICE

       I hereby certify that on this November 30, 2023, I caused to be served a copy of the
foregoing document via the CM/ECF system on all counsel of record.

                                          /s/ Andrew J. Rossman




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